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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

 UNITED STATES OF AMERICA,                                 §
                   Plaintiff,                              §
                                                           §
 v.                                                        §   CASE NO. 7:20-CV-412
                                                           §
 0.723 ACRES OF LAND, MORE OR LESS,                        §
 SITUATE IN STARR COUNTY, STATE OF                         §
 TEXAS; AND VALLEY LAND FUND,                              §
 INC., ET AL.,                                             §
                                                           §
                         Defendants.                       §


                     JOINT STIPULATION FOR REVESTMENT AND
                      MOTION FOR ENTRY OF FINAL JUDGMENT

       Plaintiff, United States of America, and Defendant, Valley Land Fund, Inc., a Texas non-

profit corporation (collectively, “Parties”) do hereby stipulate to the revestment of interests taken

in Tracts RGV-RGC-1048, RGV-RGC-1048-1 and RGV-RGC-1048-2 as described in Schedules

“C”, “D”, and “E” of the Declaration of Taking (Dkt. No. 2).

       The parties further stipulate and agree as follows:

A.     Background

1.     On Defendant 15, 2020, Plaintiff United States of America (“United States”) filed a

Declaration of Taking (Dkt. No. 2) and Complaint in Condemnation (Dkt. No. 1) to acquire fee

simple interest in 0.723 acres identified as Tracts RGV-RGC-1048, RGV-RGC-1048-1 and RGV-

RGC-1048-2. On January 13, 2021, the United States deposited its estimated just compensation

for Tracts RGV-RGC-1048, RGV-RGC-1048-1 and RGV-RGC-1048-2. See Dkt. No. 11.

Pursuant to 40 U.S.C. § 3114(b)(1), upon deposit of the estimated just compensation, title to Tracts




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RGV-RGC-1048, RGV-RGC-1048-1 and RGV-RGC-1048-2 vested in the name of the United

States by operation of law on January 13, 2021.

2.      The United States does not have possession of Tracts RGV-RGC-1048, RGV-RGC-1048-

1 and RGV-RGC-1048-2; no possession order has ever been issued.

3.      The Parties agree that Defendant Valley Land Fund, Inc., a Texas non-profit corporation,

is the sole owner of the interests acquired in Tracts RGV-RGC-1048, RGV-RGC-1048-1 and

RGV-RGC-1048-2.

B.      Stipulation of Revestment

4.      Pursuant to 40 U.S.C. § 3117, the United States may agree or stipulate to the revestment

of condemned property to resolve condemnation cases.

5.      The United States and Defendant Valley Land Fund, Inc., a Texas non- profit corporation,

(collectively, “Parties”) jointly stipulate and agree that all right, title, and interests acquired by the

United States associated with or appurtenant to Tracts RGV-RGC-1048, RGV-RGC-1048-1 and

RGV-RGC-1048-2 are hereby REVESTED back to Defendant with all title and rights as existed

immediately before the filing of the Declaration of Taking and title vesting in the United States.

6.      Defendant hereby agrees to accept such REVESTMENT of Tracts RGV-RGC-1048, RGV-

RGC-1048-1 and RGV-RGC-1048-2.

7.      The legal descriptions and surveys of Tracts RGV-RGC-1048, RGV-RGC-1048-1 and

RGV-RGC-1048-2 that are being REVESTED to Defendant are found in Schedule “C” and “D”

of the Declaration of Taking (Dkt. No. 2) and are attached hereto as Exhibits 1 and 2.

C.      Stipulation Regarding Just Compensation and Motion for Final Judgment

8.      The Parties further make a stipulation and move for final judgment and termination of this

case as follows:




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         A.      Upon the Court’s Order entering final judgment in accordance with the
 instant stipulation of revestment, the Parties seek immediate distribution of:

         •   The sum of $10,398.00, with accrued interest, payable to the order of “F&A
             Officer, USAED, Fort Worth,” with the check referencing “Tracts RGV-RGC-
             1048, RGV-RGC-1048-1 and RGV-RGC-1048-2.”

         B.      Defendant warrants they were the sole owner of the interest in the property
 taken in this proceeding on the respective date of taking.

         C.      Defendant agrees to waive any and all claims for compensation of any
 nature against the United States arising from the United States’ acquisition of the property
 taken in this proceeding.

        D.      The Parties shall be responsible for their own legal fees, costs, and expenses,
 including attorneys’ fees, consultants’ fees, and any other expenses or costs.

        E.     The Parties shall take no appeal from any rulings or judgment made by the
 Court in this action, and the parties’ consent to the entry of all motions, orders, and
 judgments necessary to effectuate this stipulation.

        F.      This joint stipulation and motion is binding on the heirs, trustees, executors,
 administrators, devisees, successors, assigns, agents, and representatives of Defendant.

         G.      The Parties request that the Court enter an Order of Final Judgment
 reflecting this Stipulation and closing this case.




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                                                    Respectfully submitted,

FOR DEFENDANT                                       FOR PLAINTIFF:

s/ Victor Rodriguez, Jr.______                      JENNIFER B. LOWERY
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                                                    and

                                                    s/ Chanmealea Thou
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                                                     Attorney for Plaintiff

                               CERTIFICATE OF SERVICE

       I, N. Joseph Unruh, Assistant United States Attorney for the Southern District of Texas,

hereby certify that on September 29, 2021, a copy of the foregoing was served on all parties in

accordance with the Federal Rules of Civil Procedure.

                                                    s/ N. Joseph Unruh
                                                    N. JOSEPH UNRUH
                                                    Assistant United States Attorney



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